Case 1:11-cv-20029-PAS Document 23 Entered on FLSD Docket 05/16/2011 Page 1 of 2




                                            IN THE DISTRICT COURT IN AND FOR
                                            THE SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

                                            CASE NO. 1:11-cv-20029
     JAMES FONT,

            Plaintiff,

     v.

     NCO FINANCIAL SYSTEMS, INC.,

           Defendant.
     _____________________________________/

                  NOTICE OF SETTLEMENT OF CLAIMS PURSUANT TO
                   THE TELEPHONE CONSUMER PROTECTION ACT

            NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

     District Court of the Southern District of Florida, Plaintiff’s Notice of Settlement of

     claims pursuant to the Telephone Consumer Protection Act. The only claims which

     remain in this case are Plaintiff’s claims for attorneys’ fees and costs, which are pending

     before the Court. Plaintiff hereby respectfully requests that this Court allow sixty (60)

     days within which to complete the settlement and to file a Dismissal in this matter. This

     Court shall retain jurisdiction over this matter until fully resolved.


                                                         Respectfully submitted,
                                                         JAMES FONT

                                                         By: s/ Alex Weisberg
                                                         ALEX D. WEISBERG
                                                         FBN: 0566551
                                                         WEISBERG & MEYERS, LLC
                                                         ATTORNEYS FOR PLAINTIFF
                                                         5722 S. Flamingo Road, Ste. 656
                                                         Cooper City, FL 33330
                                                         (954) 212-2184
                                                         (866) 577-0963 fax
                                                         aweisberg@attorneysforconsumers.com
Case 1:11-cv-20029-PAS Document 23 Entered on FLSD Docket 05/16/2011 Page 2 of 2




            I HEREBY CERTIFY THAT this Notice was filed on this 16th day of May 2011,

     by means of the CM/ECF system which will send notice of electronic filing to the

     following: Mr. Kenneth Grace, kgrace@sessions-law.biz.




                                                     By: s/ Alex Weisberg
                                                     ALEX D. WEISBERG
                                                     FBN: 0566551
                                                     WEISBERG & MEYERS, LLC
                                                     ATTORNEYS FOR PLAINTIFF
                                                     5722 S. Flamingo Road, Ste. 656
                                                     Cooper City, FL 33330
                                                     (954) 212-2184
                                                     (866) 577-0963 fax
                                                     aweisberg@attorneysforconsumers.com
